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Attorneys for Plaintiff the People of the State of California

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

. CALIFORNIA,

PEOPLE OF THE STATE OF CASE NO. 1:20-cv-02565

-_ | CALIFORNIA PARTIAL CONSENT
Plaintiff, | DECREE

Vv.

DAIMLER AG, AND MERCEDES-
BENZ USA, LLC,

Defendants.

 

 

 

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WHEREAS, Plaintiff the People of the State of California (the “State of
California”), acting by and through Xavier Becerra, Attorney General of the State
of California (“the California Attorney General,” as specifically defined below),
and the California Air Resources Board (“CARB,” as specifically defined below)
(collectively, “California”) filed a complaint (the “California Complaint”) in this
action on September 14, 2020, against Daimler AG and Mercedes-Benz USA, LLC,
(collectively, “Defendants,” as specifically defined below). In the California
Complaint, CARB alleges that Defendants violated certain provisions of California
law, including without limitation California Health and Safety Code sections
43016, 43106, 43151, 43152, 43153, 43205, 43211, and 43212; 13C.CR. §§ 1961,
1961.2, 1965, 1968.2, and 2037; and 42 U.S.C. § 7604 and 40 C.F.R. § 54.3 with
regard to the certification, distribution, and sale in California of approximately
36,946 Model Year 2009 to 2016 BlueTEC II diesel vehicles (the “Subject
Vehicles,” as specifically defined below). For his part, the California Attorney
General alleges that Defendants, through their violation of the sections of California
Health and Safety Code and Code of Regulations pled by CARB, engaged in
unlawful business acts or practices, within the meaning of California Business and
Professions Code § 17200 et seq. Collectively CARB’s and the California Attorney
General’s claims are referred to herein as the “California Claims”;

WHEREAS, the California Complaint alleges, among other things, that the
Subject Vehicles contain undisclosed Auxiliary Emission Control Devices
(“AECDs”) and prohibited Defeat Devices, as well as several unreported,
unapproved running changes and field fixes, that have resulted in, and continue to
result in, increased NOx emissions from each Subject Vehicle significantly in

excess of California limits;

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WHEREAS, Defendants deny the allegations in the California Complaint and
do not admit any liability to California or otherwise arising out of or in connection
with the allegations in the California Complaint;

WHEREAS, Defendants and California intend to resolve certain aspects of
the California Claims through the entry of a consent decree among the United
States, California, and the Defendants (the ““Daimler/US/CA Consent Decree”)
concerning the Subject Vehicles, lodged on September 14, 2020, that, among other
things, establishes an emission modification program offering Eligible Vehicle
owners an approved emission modification (“AEM”) to be applied to Eligible
Vehicles, establishes a post-AEM testing program to ensure continued compliance
of modified Eligible Vehicles, requires Defendants to implement certain corporate
compliance policies and practices, and requires Defendants to make a civil penalty
payment of $131,250,000.00 to CARB and a separate penalty payment of
$42,707,900.00 to CARB for certain additional on-board diagnostic (““OBD”)
noncompliances;

WHEREAS, Defendants and California have agreed, through this partial
consent decree (“California Partial Consent Decree”), to resolve the remaining
aspects of the California Claims related to the Subject Vehicles without the need for
litigation;

WHEREAS, Defendants and the California Attorney General have agreed,
through the California Partial Consent Decree, to resolve the California Attorney
General’s allegations that Defendants engaged in unlawful business acts or
practices, within the meaning of California Business and Professions Code § 17200,
by virtue of having violated the following statutes and regulations: California
Health & Safety Code sections 43016, 43151, 43152, 43153 and 43211; California
Code of Regulations, Title 13, sections 1961, 1961.2, 1965, 1968.2, and 2037; 42

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U.S.C. section 7604 and Code of Federal Regulations, Title 40, section 54.3 (the
“California Unfair Competition Claims”).

WHEREAS, this California Partial Consent Decree provides certain

“injunctive and monetary relief to California, including in the form of environmental

mitigation funds that are intended to fully mitigate the total lifetime excess NOx
emissions from Subject Vehicles in California;

WHEREAS, nothing in this Consent Decree shall constitute an admission of
any fact or law by any Party, including as to any factual or legal assertion set forth
in the California Complaint, except for the purpose of enforcing the terms or
conditions set forth herein; :

WHEREAS, the Parties recognize, and the Court by entering this Consent
Decree finds, that this Consent Decree has been negotiated by the Parties in good

"faith and will avoid litigation among the Parties regarding certain aspects of the

California Claims, and that this Consent Decree is fair, reasonable, and in the public
interest; and

WHEREAS, this Consent Decree and the Daimler/US/CA Consent Decree
together form an integrated resolution of the California Claims, and that, as set forth
herein, this Consent Decree will not become effective unless and until the
Daimler/U S/CA Consent Decree is entered or the Court grants a motion entering
the Daimler/US/CA Consent Decree.

NOW, THEREFORE, before the taking of any testimony, without the
adjudication of any issue of fact or law, and with the consent of the Parties, IT IS
HEREBY ADJUDGED, ORDERED, AND DECREED as follows:

. I. JURISDICTION AND VENUE

1. The Court has jurisdiction over the subject matter of this action pursuant
to 28 U.S.C. § 1331, and over the Parties to the extent limited by this Paragraph.
Venue lies in this District pursuant to 28 U.S.C. § 1391(b) and 28 U.S.C. § 1407.

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The Court has supplemental jurisdiction over California’s state law claims pursuant
to 28 U.S.C. § 1367. For purposes of this Consent Decree, or in any action to
enforce this Consent Decree, the Parties agree to and Defendants consent to this
Court’s jurisdiction over this Consent Decree and over any action to enforce this
Consent Decree, and over Defendants, and consent to venue in this judicial district.
Defendants reserve the right to challenge and oppose any claims to jurisdiction that
do not arise from the Court’s jurisdiction over this Consent Decree or an action to
enforce this Consent Decree.

2. For purposes of this Consent Decree only, Defendants agree that the
California Complaint states claims upon which relief may be granted pursuant to:
California Health and Safety Code sections 43016, 43106, 43151, 43152, 43153,
43205, 43211, and 43212; California Business and Professions Code § 17200 et
seq.; 13 C.C.R. §§ 1961, 1961.2, 1965, 1968.2, and 2037; and 42 U.S.C. § 7604 and
40 C.F.R. § 54.3.

Il. APPLICABILITY

3. The obligations of this Consent Decree apply to and are binding upon
California, and upon Defendants and any successors, assigns, or other entities or
persons otherwise bound by law.

4. No transfer of ownership or operation, whether in compliance with the
procedures of this Paragraph or otherwise, shall relieve Defendants of their
obligation to ensure that the terms of this Decree are implemented. At least 30
Days prior to such transfer, Defendants shall provide a copy of this Consent Decree
to the proposed transferee and shall simultaneously provide written notice of the
prospective transfer, together with a copy of the proposed written agreement, to
California, in accordance with Section X (Notices). Notwithstanding the foregoing,
the provisions of this Paragraph do not apply to a transfer of ownership or
operations between or among Daimler group companies.

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5. Defendants shall provide a copy of this Consent Decree to the members
of their respective Board of Management and/or Board of Directors and to their
officers and executives whose duties might reasonably include compliance with, or
oversight over compliance with, any provision of this Consent Decree. Defendants
shall also ensure that any contractors retained to perform work required under the
material terms of this Consent Decree, agents, or employees whose duties might
reasonably include compliance with any provision of this Consent Decree are made
aware of those requirements of the Consent Decree relevant to their performance.

6. In any action to enforce this Consent Decree, Defendants shall not raise
as a defense the failure by any of their tespective officers, directors, employees,
agents, or contractors to take any actions necessary to comply with the provisions
of this Consent Decree.

Il. DEFINITIONS
7. Terms that are defined in this Consent Decree are defined for purposes of

this Consent Decree only and are not applicable for any other purpose. Whenever

' the terms set forth below are used in this Consent Decree, the following definitions

shall apply:

a. “Auxiliary Emission Control Device” has the meaning set forth in
40 C.F.R. § 86.1803-01.

b. “Business Day” means a calendar day that does not fall on a
Saturday, Sunday, or federal or California holiday. In computing any period of
time under this Consent Decree, where the last Day would fall on a Saturday,
Sunday, or federal or California holiday, the period shall run until the close of
business of the next Business Day;

c. “California” means the People of the State of California, acting by

and through the California Attorney General and California Air Resources Board,

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and where it is used to refer to specific statutes or regulations only, it means the
State of California:

d. “California Attorney General” means the California Attorney
General’s Office and any of its successor departments or agencies;

e. “California Complaint” means the complaint filed by California in
this action; |

f “CARB” means the California Air Resources Board and any of its
successor departments or agencies;

g. “Consent Decree” or “California Partial Consent Decree” means this
partial consent decree;

h. “California Unfair Competition Claims” means the California
Attorney General’s allegations that Defendants engaged in unlawful business acts
or practices, within the meaning of California Business and Professions Code
§ 17200, by virtue of having violated the following statutes and regulations:
California Health & Safety Code sections 43016, 43151, 43152, 43153 and 43211; |
California Code of Regulations, Title 13, sections 1961, 1961.2, 1965, 1968.2, and
2037; 42 U.S.C. section 7604 and Code of Federal Regulations, Title 40, section
54,3

j. “Daimler/US/CA Consent Decree Effective Date” means the date
upon which the Daimler/US/CA Consent Decree is entered by the Court or a
motion to enter the Daimler/US/CA Consent Decree is granted, whichever occurs
first, as recorded on the Court’s docket;

j. “Day” means a calendar day, unless expressly stated to be a
Business Day. In computing any period of time under this Consent Decree, where
the last day would fall on a Saturday, Sunday, or federal or California holiday, the

period shall run until the close of business of the next Business Day;

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k, “Defeat Device” has the meaning set forth in 40 C.F.R. § 86.1803-
01.

1. “Defendants” means the entities named in the California Complaint,

‘ specifically, Daimler AG and Mercedes-Benz USA, LLC;

m.“Effective Date” has the meaning set forth in Section XI below;

n. “EPA” means the United States Environmental Protection Agency
and any of its successor departments or agencies; and

o. “Subject Vehicles” means any vehicles identified in Appendix B,
Attachment I to the Daimler/US/CA Consent Decree, that Defendants sold or
offered for sale in, or introduced or delivered for introduction into commerce in the
United States or its Territories, or imported into the United States or its Territories,
and that are or were purported to have been covered by the EPA test groups and/or
CARB test groups listed in Appendix B, Attachment I of the Daimler/US/CA
Consent Decree.

IV. INJUNCTIVE PROVISIONS
8. Under California Business and Professions Code § 17203, Defendants

and Defendants’ officers, agents, employees, and attorneys, and all other persons in
active concert or participation with any of them, who receive actual notice of this
Consent Decree, whether acting directly or indirectly, are permanently enjoined
from: |

a. Introducing into commerce, importing, delivering, purchasing,
acquiring, receiving, distributing, offering for sale, selling, offering for lease,
leasing, offering for rent, renting, or assisting others in introducing into commerce,
importing, delivering, purchasing, acquiring, receiving, distributing, offering for
sale, selling, offering for lease, leasing, offering for rent, or reiting in California
any vehicle that contains a Defeat Device and/or any undisclosed AECD, or

otherwise fails to comply with California Health and Safety Code sections 43016,

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43106, 43151, 43152, 43153, 43205, 43211; 13 C.C.R. §§ 1961, 1961.2, 1965,
1968.2, and 2037; and 42 U.S.C. § 7604 and 40 C.F.R. § 54.3;

b. Engaging in unlawful business acts or practices, within the meaning
of California Business and Professions Code § 17200 et seq., by violating
California Health & Safety Code sections 43016, 43151, 43152, 43153 and 43211;
13 C.C.R. §§ 1961, 1961.2, 1965, 1968.2, and 2037; and 42 U.S.C. § 7604 and 40
C.F.R. § 54.3; .

c. Failing to promptly notify CARB and the California Attorney
General when Defendants have reason to believe that a Defeat Device and/or any
undisclosed AECD has been included in a vehicle sold or offered for sale or
distribution by Defendants in California;

d. Failing to comply with any injunctive terms obtained by the People
of the State of California acting by and through CARB, by CARB, or by the United
States in this or a related action conceming the Subject Vehicles, but only to the
extent that the aforementioned injunctive terms apply to the Subject Vehicles or
specific Defendants.

9. Defendants will submit a copy of any report filed under Paragraph 44 of
the Daimler/US/CA Consent Decree to the CA AG in accordance with the Notice
provisions herein. _

10. Nothing in this Consent Decree alters the requirements of federal or state
law to the extent they offer greater protection to the environment.

V. CARB MITIGATION PAYMENT

11. CARB Mitigation Payment. Within 30 Days of the Effective Date (as
described in Section XI below), or 30 Days of the entry of this Consent Decree,
whichever comes later, Defendants shall pay directly to CARB the sum of
$110,000,000.00 to be used to fund mitigation actions or projects that reduce NOx
emissions in California (the “CARB Mitigation Payment”). These funds shall be

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deposited into the Air Pollution Control Fund, for the purpose of enhancing
CARB’s mobile source emissions control program through additional certification
review, in-use evaluation, real-world testing, enforcement actions, and other CARB
activities related to the control of air pollution.

12. Stipulated Penalties for Late CARB Mitigation Payment. If
Defendants fail to pay the CARB Mitigation Payment required under Paragraph 11
when due, then Defendants shall, in addition to the CARB Mitigation Payment, pay
stipulated penalties directly to CARB as follows:

 

Penalty Per Day Period of Noncompliance
$20,000 Ist through 30th Day
$40,000 31st through 45th Day
$80,000 46th Day and beyond.

13. For purposes of the identification requirement of Section 162(f)(2)(A)(ii)
of the Internal Revenue Code, 26 U.S.C. § 162(f)(2)(A)(ii), the performance by
Defendants of Paragraphs 11-12 (CARB Mitigation Payment) is restitution or
required to come into compliance with law.

VI. MONETARY PROVISIONS

14. Monetary Payment. Within 30 Days of the Effective Date (as described
in Section XI below), or 30 Days of the entry of this Consent Decree, whichever
comes later, Defendants shall pay to the California Attorney General the sum of
$17,500,000.00 to be used by the California Attorney General, at the sole discretion
of the California Attorney General, for the future enforcement of environmental
protection laws by the California Attorney General, the promotion of
environmentally beneficial projects, and to defray the costs of the investigation
leading to this Consent Decree, the Daimler/US/CA Consent Decree, and of
California’s ongoing monitoring of Defendants’ compliance with these consent
decrees (the “California Future Environmental Enforcement, Investigation, and

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Monitoring Costs”). The California Future Environmental Enforcement,
Investigation, and Monitoring Costs sha! be separate from and in addition to the
CARB Mitigation Payment required under Section V above.

15. Stipulated Penalties for Late Payment. If Defendants fail to make the
payment required under Paragraph 14 of this Consent Decree when due, the
Defendants shall, in addition to the California Future Environmental Enforcement,
Investigation, and Monitoring Costs, pay stipulated penalties directly to the

California Attorney General as follows:

 

Penalty Per Day Period of Noncompliance
$20,000 Ist through 30th Day
$40,000 31st through 45th Day
$80,000 46th Day and beyond.

VII. DOC OBD NONCOMPLIANCE PENALTY PAYMENT

16. Pre-Approved DOC OBD Noncompliance. Defendants shall make one
aggregate payment to CARB for the DOC OBD monitor OBD Noncompliance
Defendants described to EPA/CARB on November 29, 2018, in the amount of
$1,678,000 (the “Pre-Approved DOC OBD Noncompliance Penalty Payment”).
Within 30 Days of the Effective Date, Defendants shall pay the penalty due under
this Paragraph to CARB according to the instructions set forth in.Paragraph 18.

17. DOC OBD Noncompliance. If CARB determines that the DOC OBD
monitor in one or more Subject Vehicles in Emission Modification Category 3, 4, 5,
6, 7, 8, or 12 contains the same OBD Noncompliance as that described by
Defendants to EPA/CARB on November 29, 2018, Defendants shall pay a
stipulated penalty to CARB in the following amounts, as applicable:

Emission Modification Category Penalty
Emission Modification Category 3 $6,111,000
Emission Modification Category 4 $4,214,000

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Emission Modification Category 5 $3,270,000

Emission Modification Category 6 $216,000

Emission Modification Category 7 $346,000

Emission Modification Category 8 $1,129,000

Emission Modification Category 12 $1,244,000
The penalty due to CARB under this Paragraph is due within 30 Days of the
approval of the affected Emission Modification Category in accordance with
Appendix B, Paragraph 5.a.i.A (Approval), Paragraph 5.a.1.B (Approval Upon
Specified Conditions), or Paragraph 5.a.i.C (Approval In Part), as applicable, of the
Daimler/US/CA Consent Decree, or within 30 Days of the Effective Date,
whichever is later (the “DOC OBD Noncompliance Penalty Payment”).

VIN. PAYMENT REQUIREMENTS :

18. Payments required to be made to CARB under this Consent Decree shall
be issued to CARB by check, accompanied by a Payment Transmittal Form (which
CARB will provide to the addressee listed in Section X (Notices) after the Effective
Date), mailed to:

California Air Resources Board
Accounting Office

P.O. Box 1436

Sacramento, CA 95812-1436;

or by wire transfer, in which case Defendants shall use the following wire transfer
information and send the Payment Transmittal Form to the above address prior to

each wire transfer:

State of California Air Resources Board

c/o Bank of America, Inter Branch to 0148

Routing No. 0260-0959-3 Account No. 01482-80005
Notice of Transfer: Accounting Fax: (916) 322-9612

Defendants are responsible for any bank charges incurred for processing wire

transfers. Except as otherwise provided by this Consent Decree, all funds paid to
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CARB in this Consent Decree, as well as all funds paid to CARB in the
Daimler/US/CA Consent Decree, shall be deposited into the Air Pollution Control
Fund, for the purpose of enhancing CARB’s mobile source emissions control
program through additional certification review, in-use evaluation, real-world
testing, enforcement actions, and other CARB activities related to the control of air
pollution.

19. Payments required to be made to the California Attorney General
pursuant to this Consent Decree shall be payable by wire transfer to the California
Attorney General pursuant to instructions provided by the California Attorney
General. Defendants are responsible for any bank charges incurred for processing
wire transfers.

IX. EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS

20. Upon the Effective Date, and subject to the reservations in Paragraph 23,
Defendants’ satisfaction of the requirements in this Consent Decree shall resolve,
settle, and release (1) California’s civil claims for the violations alleged in the
California Complaint pursuant to the California Health and Safety Code (not
otherwise resolved by the Daimler/US/CA Consent Decree) against Defendants,
their successors, and all affiliates, parents, or subsidiaries of Defendants and any
present or former directors, officers, or employees of Defendants or their affiliates,
parents, or subsidiaries, provided that such persons were acting within the scope of
their employment; and:(2) the civil claims for relief under California Business &
Professions Code § 17200 (“Section 17200”) that the Attorney General alleged or
could have alleged in the California Complaint regarding the Subject Vehicles
based on facts disclosed by Defendants to California before the lodging of the
Consent Decree, but only to the extent that those claims are predicated on
allegations that Defendants engaged in unlawful business acts or practices, within
the meaning of Section 17200, by virtue of having violated the following statutes

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and regulations: California Health & Safety Code sections 43106, 43016, 43151,
43152, 43153, 43205, and 43211; California Code of Regulations, Title 13, sections
1961, 1961.2, 1965, 1968.2, and 2037; 42 U.S.C. section 7604 and Code of Federal
Regulations, Title 40, section 54.3, against Defendants, their successors, and all
affiliates, parents, or subsidiaries of Defendants and any present or former directors,
officers, or employees of Defendants or their affiliates, parents, or subsidiaries,
provided that such persons were acting within the scope of their employment; and
(3) as follows:

a. All claims that could have been brought by the California Attorney
General, in his independent enforcement capacity, pursuant to California Health &
Safety Code sections 43106, 43016, 43151, 43152, 43153, 43205, 43212 and
43211; California Vehicle Code section 27156; California Code of Regulations,
Title 13, sections 1903, 1961, 1961.2, 1965, 1968.2; 2037; California Civil Code
section 3494 and common law nuisance; 42 U.S.C. section 7604 and Code of
Federal Regulations, Title 40, section 54.3, but only to the extent such claims relate -
to the Subject Vehicles and are based on facts alleged in the California Complaint
or facts disclosed to California before the lodging of the Consent Decree; and

b. All claims for costs and attorneys’ fees as alleged in the California
Complaint.

21. To the extent that any claims released herein are duplicative of claims to
be released, settled, or resolved by California under the Daimler/US/CA Consent
Decree, such claims are not released unless or until the Court enters or grants a
motion to enter the Daimler/US/CA Consent Decree.

22. Neither this Consent Decree nor Defendants’ consent to its entry
constitutes an admission by Defendants of violations alleged in the California
Complaint or any other allegations asserted by CARB before March 31, 2017,
related to the Subject Vehicles. Defendants reserve all defenses and all rights and

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CALIFORNIA PARTIAL CONSENT DECREE

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remedies, legal and equitable, available to them in any action by a non-party
pertaining to the Clean Air Act, or any other federal, state or local statute, rule or
regulation. |

23. California reserves, and this Consent Decree is without prejudice to, all
claims, rights, and remedies against Defendants with respect to all matters not
expressly resolved in Paragraph 20. Notwithstanding any other provision of this
Decree, California reserves all claims, rights, and remedies against Defendants with
respect to:

a. Enforcement of the terms of this Consent Decree;

b. Except as specifically provided in Paragraph 20, civil penalties or
further injunctive relief, including prohibitory and mandatory injunctive provisions
intended to enjoin, prevent, and deter future misconduct, and/or incenttvize its
detection, disclosure, and/or prosecution; or to enjoin false advertising, the making
of false or misleading statements or omissions, the engagement in any unfair or
fraudulent business practices as prohibited by California Business and Professions
Code section 17200, violation of environmental laws, violation of consumer
protection laws, or the use or employment of any practice that constitutes unfair
competition;

c. All rights reserved by California under the Daimler/US/CA Consent
Decree, except as provided under this Consent Decree, including Paragraph 20 of
this Consent Decree;

d. Any criminal liability;

e. Any part of any claims for the violations of securities laws or the
California False Claims Act, California Government Code §§ 12650 et seq.;

f. Any and all claims for relief to consumers, including claims for

restitution, refunds, rescission, damages, or disgorgement;

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g. Any other claims of any officer or agency of the State of California
other than CARB and the California Attorney General;
h. Any claims held by individual consumers.

24. This Consent Decree, including the release set forth in Paragraph 20,
does not modify, abrogate, or otherwise limit the injunctive and other relief to be
provided by Defendants under, nor any obligation of any party or person under, the
Daimler/US/CA Consent Decree.

25. By entering into this Consent Decree, California is not enforcing the laws
of other countries, including the emissions laws or regulations of any jurisdiction
outside the United States. Nothing in this Consent Decree is intended to apply to,
or affect, Defendants’ obligations under the laws or regulations of any jurisdiction
outside the United States. At the same time, the laws and regulations of other
countries shall not affect Defendants’ obligations under this Consent Decree.

26. This Consent Decree shall not be construed to limit the rights of
California to obtain penalties or injunctive relief, except as specifically provided in
Paragraph 20. California further reserves all legal and equitable remedies to
address any imminent and substantial endangerment to the public health or welfare
or the environment arising at any of Defendants’ facilities, or posed by the Subject
Vehicles, whether related to the violations addressed in this Consent Decree or
otherwise.

27. In any subsequent judicial proceeding initiated by California for
injunctive relief, civil penalties, or other appropriate relief relating to Defendants’
violations, Defendants shall not assert, and may not maintain, any defense or claim
based upon the principles of waiver, res judicata, collateral estoppel, issue
preclusion, claim preclusion, claim-splitting, or other defenses based upon any

contention that the claims raised by California in the subsequent proceeding were or

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should have been brought in the instant case, except with respect to the claims that
have been specifically released pursuant to Paragraph 20.

28. This Consent Decree is not a permit, or a modification of any permit,
under any federal, State, or local laws or regulations. Defendants are each
responsible for achieving and maintaining complete compliance with all applicable
federal, State, and local laws, regulations, and permits; and Defendants’ compliance
with this Consent Decree shall be no defense to any action commenced pursuant to
any such laws, regulations, or permits, except as set forth herein. California does
not, by its consent to the entry of this Consent Decree, warrant or aver in any
manner that Defendants’ comipliance with any aspect of this Consent Decree will
result in compliance with provisions of the Clean Air Act, or with any other
provisions of United States, State, or local laws, regulations, or permits.

29. This Consent Decree does not limit or affect the rights of Defendants or
of California against any third parties not party to this Consent Decree, nor does it
limit the rights of third parties not party to this Consent Decree against Defendants,
except as otherwise provided by law.

30. This Consent Decree shall not be construed to create rights in, or grant
any cause of action to, any third party not a party to this Consent Decree. No such

third party shall be entitled to enforce any aspect of this Consent Decree or claim

_ any legal or equitable injury for a violation of this Consent Decree.

X. NOTICES
31. Unless otherwise specified in this Consent Decree, whenever any
notification or other communication is required by this Consent Decree, or
whenever any communication is required in any action or proceeding related to or
bearing upon this Consent Decree or the rights or obligations under this Consent

Decree, it shall be made in writing (except that if any attachment is voluminous, it

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shall be provided on a disk, hard drive, or other equivalent successor technology),

and shall be addressed as follows:

As to California: CARB and CA AG at the email or mail addresses below,

as applicable
As to CARB by email:

As to CARB by telephone:

As to CARB by mail:

As to CA AG by email:

As to CA AG by mail:

DaimlerCD@arb.ca.gov
(916) 322-2884

Chief Counsel

California Air Resources Board
Legal Office

1001 I Street

Sacramento, California 95814

gary.tavetian@doj.ca.gov
josh.caplan@doj.ca.gov
john.sasaki@doj.ca.gov
David.Zonana@doj.ca.gov
Joshua.Purtle@do}j.ca.gov

Gary Tavetian

Supervising, Deputy Attorney General
Natural Resources Law Section
California Department of Justice

300 South Spring Street

Los Angeles, CA 90013

Robert Byrne

Senior Assistant Attorney General
Natural Resources Section

Office of the Attorney General
P.O. Box 944255

Sacramento, CA 94244-2550

David Zonana
Supervising Deputy Attorney General
Environment Section
California Department of Justice
1515 Clay Street, Suite 2000
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As to Defendants:

As to one or more of the
Defendants by email:

As to one or more of the
Defendants by mail:

Oakland, CA 94612

Ed Ochoa

Senior Assistant Attorney General
Environment Section

Office of the Attorney General

600 West Broadway Street, Suite 1800
San Diego, CA 92101-3702

Gibson, Dunn & Crutcher LLP, at the email or
mail addresses below, as applicable

Daimler AG, at the email or mail addresses
below, as applicable

Mercedes-Benz USA, LLC, at the email or mail
addresses below, as applicable

rludwiszewski@gibsondunn.com
sfletcher@gibsondunn.com
dirk.lindemann@daimler.com
hendrik.heitsch@daimler.com
matthew.j.everitt@mbusa.com
anthony.zepf@mbusa.com

Raymond B. Ludwiszewski

Stacie B. Fletcher.

GIBSON, DUNN & CRUTCHER LLP
1050 Connecticut Avenue Northwest
Washington, District of Columbia 20036

Dirk Lindemann
Hendrik Heitsch
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MercedesstraBe 120
Building 120, Floor 8
(HPC 096 — F 387)
70327 Stuttgart

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Case 1:20-cv-02565-EGS Document 4-1 Filed 09/14/20 Page 20 of 28

~ Matthew J. Everitt
Anthony D. Zepf
MERCEDES-BENZ USA, LLC
One Mercedes-Benz Drive
Sandy Springs, GA 30328-4312
32. Any party may, by written notice to the other parties, change its
designated notice recipient or notice address provided above.
XI. EFFECTIVE DATE
33. The Effective Date of this Consent Decree shall be deemed to be the
Daimler/US/CA Consent Decree Effective Date. If the Daimler/US/CA Consent
Decree Effective Date occurs before this Consent Decree is entered or the Court
grants a motion to enter this Consent Decree, the Parties shall have no obligations
under this Consent Decree until it is entered or a motion to enter this Consent
Decree is granted, whichever occurs first, as recorded on the Court’s docket.
XII. RETENTION OF JURISDICTION
34. The Court shall retain jurisdiction over this case until termination of this
Consent Decree, for the purpose of resolving disputes arising under this Consent
Decree, entering orders modifying this Consent Decree, or effectuating or enforcing
compliance with the terms of this Consent Decree.
XII. SIGNATORIES/SERVICE

35. Each undersigned representative of Defendants and California certifies

- that he or she is fully authorized to enter into the terms and conditions of this

Consent Decree and to execute and legally bind the Party he or she represents to
this document. The California Attorney General and CARB represent that they
have the authority to execute this Consent Decree on behalf of California and that,
upon entry, this Consent Decree is a binding obligation enforceable against

California under applicable law.

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36. This Consent Decree may be signed in counterparts, and its validity shall
not be challenged on that basis. For purposes of this Consent Decree, a signature
page that is transmitted electronically (e.g., by facsimile or e-mailed “PDF”’) shall
have the same effect as an original.

XIV. INTEGRATION

37. This Consent Decree constitutes the final, complete, and exclusive
agreement and understanding among the Parties with respect to the settlement
embodied in this Consent Decree and supersedes all prior agreements and
understandings, whether oral or written, concerning the settlement embodied
herein, with the exception of the Daimler/US/CA Consent Decree. The Parties
acknowledge that there are no documents, representations, inducements,
agreements, understandings or promises that constitute any part of this Consent
Decree or the settlement it represents other than those expressly contained or
referenced in this Consent Decree.

| XV. MODIFICATION

38. The terms of this Consent Decree may be modified only by a subsequent
written agreement signed by the Parties. Where the modification constitutes a
material change to this Consent Decree, it shall be effective only upon approval by
the Court. California will file any nonmaterial modifications with the Court. The
correction of scrivener’s errors will be considered non-material modifications.

XVI. TERMINATION

39. With the exception of the Injunctive Provisions listed in Section IV,
termination of this Consent Decree shall occur upon Defendants’ submission of (a) .
the CARB Mitigation Payment required under Paragraph 11, (b) the California
Future Environmental Enforcement, Investigation, and Monitoring Costs required
under Paragraph 14, (c) the Pre-Approved DOC OBD Noncompliance Penalty
Payment required under Paragraph 16, (d) any and all DOC Noncompliance Penalty

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Payments required under Paragraph 16, and (e) any and all stipulated penalties
required under Paragraphs 12 and 15.

40. With respect to the Injunctive Provisions listed in Section IV, termination
of this Consent Decree shall occur upon termination of the Daimler/US/CA
Consent Decree pursuant to Section XX of that document.

XVII. FINAL JUDGMENT

41. Upon approval and entry of this Consent Decree by the Court, this
Consent Decree shall constitute a final judgment of the Court as to California and
the Defendants. The Court finds that there is no just reason for delay and therefore
enters this judgment as a final judgment under Fed. R. Civ. P. 54 and 58.

Dated and entered this day of , 2020,

 

UNITED STATES DISTRICT JUDGE

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FOR THE PEOPLE OF THE STATE OF CALIFORNIA BY AND THROUGH
THE CALIFORNIA AIR RESOURCES BOARD:
Date: August 29, 2020 SLA LL——~
GARY E. TAVETIAN
Supervising Deputy Attorney General
JOSHUA M. CAPLAN
JOHN SASAKI
Deputy Attorneys General

California Department of Justice
Office of the Attorney General
600 West Broadway, Suite 1800
San Diego, CA 92101

 

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FOR THE CALIFORNIA AIR RESOURCES BOARD:

Date: 7 / Z ‘WI

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D. NICHOLS

 

Chair
California Air Resources Board
1001 I Street

 

Sacramento CA 95814 vf.
- RICHARD W. ML.

Executive Officer

California Air Resources Board
1001 I Street

Sacramento CA 95814

LN DA
. !

ELLEN M.PETER  ”

Chief Counsel

D. ARON LIVINGSTON

Assistant Chief Counsel

ALEXANDRA KAMEL

Senior Attorney-

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Sacramento CA 95814

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FOR THE PEOPLE OF THE STATE OF CALIFORNIA BY AND THROUGH
XAVIER BECERRA, ATTORNEY GENERAL OF CALIFORNIA:

Date: LOA Z HOI0 wnt Be. Pp)

DAVID A“ZONANA

Supervising Deputy Attorney General
JOSHUA R. PURTLE

Deputy Attorney General

California Department of Justice
Office of the Attorney General

1515 Clay Street, Suite 2000
Oakland, CA 94612

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FOR DAIMLER AG:

Date: 1.03. BOEO

 

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a feed
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MERCEDES-BENZ USA, LLC:

Date: _/ 5 Lo dokd

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MATTHEW EVERITT
Vice President and General Counsel
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CHRISTIAN TREIBER

Vice President Customer Service
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Sandy Springs, GA 30328-4312

 

 

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COUNSEL FOR DAIMLER AG AND MERCEDES-BENZ USA, LLC

Date: 14/22 Venue! L, Laws otek "

c
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